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✎PROB 35                    Report and Order Terminating Probation/Supervised Release
(Rev. 5/01)                              Prior to Original Expiration Date



                                     UNITED STATES DISTRICT COURT
                                                            FOR THE

                                                Middle District of Alabama


               UNITED STATES OF AMERICA




                                                                 A
                                v.                                     Crim. No. 3:94cr114-MHT-02 (WO)

                MACK CORNELL HOLSTICK


          On September 26, 2012                 the above named was placed on supervised release for a period of

5         years. The supervised releasee has complied with the rules and regulations of supervised release and is no

longer in need of supervision. It is accordingly recommended that the supervised releasee be discharged from

supervision.

                                                                          Respectfully submitted,




                                                                                    /s/ Nicky Tidwell
                                                                                     United States Probation Officer



                                                      ORDER OF COURT
          Pursuant to the above report, it is ordered that the supervised releasee be discharged from supervision

and that the proceedings in the case be terminated.

          Dated this       12th        day of                  February                ,     2016     .



                                                                            /s/ Myron H. Thompson
                                                                            United States District Judge
